                                                        _________________________________

Case 2:07-cr-00143-SRC                   Document 208    Filed 02/03/11    Page 1 of 1 PageID: 1146



                                         UNITED STATES DISTRICT COURT
                                            DISTRICT OF NEW JERSEY

                                                                            Crim.   No.   07-143(SRCL
 UNITED STATES OF AMERICA v. Marckese Stewart
                         Defendant
 PETITION FOR WRIT OF HABEAS CORPUS:
                                      Your petitioner shows that

 1.      MA.RCKESE                STEWART,   DOB:               .   FBI#   110126AB2         is   now
 confined in SOUTH WOODS STATE PRISO
                                     N.

 2.  Said individual will be required at Unit
                                              ed States District Court,
 before the Honorable Stanley R. Ches
                                      ler, Friday, February 4, 2011 at
 11:00 a.m. for an ARRAIGNMENT, in the
                                        above captioned case, in which
 _is a defendant and a Writ of Habe
                                       as Corpus should be issued for
 that purpose.

 DATED:        January 28,               2011
                                                        Assistant United States Attorney
                                                        Petitioner Lisa M. Colone

 ORDER FOR WRIT:                     Let the Writ Issue.


DATED
           )   /       /   /1,,7    I/
                                                    1
                                                    H ONOBLE STANLEY R. CHESLER
                                                      UNITED STATES DISTRICT JUDGE

WRIT OF HABEAS CORPUS:                       The United States of America to

WARDEN, SOUTH WOODS STATE PRISON
WE COMMAND YOU, that you have the
                                       body of Marckese Stewart, now
confined in South Woods State Priso
                                      n brought to the United States
District Court before the Honorable
                                     Stanley R. Chesler in Newark, New
Jersey on Friday, February 4th, 2011
                                      at 11:00 am, for an ARRAIGNMENT,
in the above-captioned matter.
                                   Immediately on completion of the
proceedings, defendant will be retur
                                     ned to said place of confinement
in safe and secure conduct.

WITNESS the Honorable Stanley R.
                                  Chesler
United States Magistrate Judge at
                                   Newark,                          N.J.


DATED:             I                                 WILLIAM T. WALSH
      I /;
               I              7                      Clerk of the U.S. District Court
                                                     for the District of New Jersey

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                                                PeL         1cL Z’’                 L_
                                                            Depu     ty Clerk
